            Case 2:20-cr-00119-RSL Document 28 Filed 09/18/20 Page 1 of 3




01

02

03

04

05

06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )          CASE NO. CR20-119 RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )          ORDER DENYING REQUEST TO
11   LEO DICKERSON,                       )          REOPEN DETENTION ORDER
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14

15         Defendant has been indicted on two counts of Unlawful Possession of a Firearm. (Dkt.

16 11.) He is also charged with violating the conditions of Supervised Release. (CR18-226 RSL,

17 Dkt. 94) Defendant was detained by this Court following his first appearance and subsequent

18 arraignment on the instant charge. (Dkt. 8.) He is also detained pending hearing on supervised

19 release allegations. He now moves to reopen the detention hearing, requesting release on GPS

20 location monitoring under 18 U.S.C. § 3142(f)(2). In the alternative, defendant requests

21 temporary release under 18 U.S.C. § 3142(i), citing as a “compelling reason” the COVID-19

22

     ORDER DENYING REQUEST TO
     REOPEN DETENTION ORDER

     PAGE -1
             Case 2:20-cr-00119-RSL Document 28 Filed 09/18/20 Page 2 of 3




01 pandemic and his increased risk due to obesity and possible hypertension. The government

02 opposes the motion. (Dkt. 23.) The motion was referred by The Honorable Robert S. Lasnik to

03 the undersigned for decision. (Dkt. 27.) The Court assumes, without specifically finding,

04 defendant has shown sufficient basis to reopen the detention hearing under 18 U.S.C. §

05 3142(f)(2).

06           Defendant indicates his believes his current weight is about 400 pounds. At a height

07 of 5 feet, 4 inches, his Body Mass Index would put him in the “severely obese” range, and at

08 particular risk for severe health consequences if he were to contract COVID-19. He also

09 believes he suffers from hypertension, an additional risk-elevating condition. He requests

10 release to reside with his mother and toddler son, with GPS location monitoring, and

11 participation in the Community Passageways support program. Defendant argues these release

12 conditions would reasonably address any risk of nonappearance or risk of danger to the

13 community under 18 U.S.C. § 3142(c), and would allow him to remain safely at home instead

14 of continuing to experience the risk of exposure to the corona virus at the Federal Detention

15 Center.

16           Defendant has a lengthy criminal record that includes numerous failures to appear,

17 bench warrant activity, eluding a police vehicle, and firearms offenses. At the time of the one

18 of the alleged offenses for which he has been indicted, defendant was on federal supervision

19 for firearms offenses. His supervision was revoked in July 2019 after being found in a vehicle

20 with two other individuals on federal supervised release for firearm-related offenses. Three

21 firearms were found in the vehicle next to defendant, two of which were connected to shootings

22
     ORDER DENYING REQUEST TO
     REOPEN DETENTION ORDER

     PAGE -2
             Case 2:20-cr-00119-RSL Document 28 Filed 09/18/20 Page 3 of 3




01 in the Seattle area. He was sentenced to 9 months in custody for violation of supervised

02 release. He was released in February 2020 to finish the final month of that sentence on house

03 arrest at his mother’s house. Before completing that sentenced, he was re-arrested and charged

04 with unlawful possession of firearms. In May 2020, he was found again associating with

05 known felons. A search of the vehicle located alcohol and two rounds of rifle ammunition.

06          Defendant’s argument that he would be safer in the community than housed at the FDC

07 required the Court to assume defendant would comply with COVID-19 public health directives.

08 Defendant’s past conduct gives the Court no basis to make such an assumption. As the

09 government notes, when defendant was arrested in May 2020 he was not following those

10 directives. Defendant’s supervised release has already been revoked for failing to follow court

11 directives, and he is awaiting hearing on further similar allegations. The record does not

12 effectively rebut the presumption that no condition or combination of conditions will reasonably

13 assure the appearance of the defendant as required and the safety of the community.

14          The motion is DENIED.

15          DATED this 18th day of September, 2020.

16

17                                                       A
                                                         Mary Alice Theiler
18                                                       United States Magistrate Judge

19

20

21

22
     ORDER DENYING REQUEST TO
     REOPEN DETENTION ORDER

     PAGE -3
